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Lead Counsel for Direct Purchaser Plaintiffs

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

This Document Relates to:

ALL DIREC T PURCHASER ACTIONS

Master File No. 07-CV-5944-JST
MDL No, 1917

DECLARATION OF R. ALEXANDER
SAVERI IN SUPPORT OF DIRECT
PURCHASER PLAINTIFFS’ APPLICATION
FOR DEFAULT JUDGMENT BY THE
COURT AGAINST THE IRICO
DEFENDANTS

Date: September 12, 2017
Time: 2:00 p.m.

Judge: Honorable Jon S. Tigar
Courtroom: 9

REDACTED VERSION OF DOCUMENT

SOUGHT TO BE SEALED

DECLARATION OF R. ALEXANDER SAVERI IN SUPPORT OF DPPS’APPLICATION FOR DEFAULT
JUDGMENT BY THE COURT AGAINST THE IRICO DEFENDANTS; Master File No. 07-CV-5944-JST

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I, R. Alexander Saveri, declare:

1. I am the Managing Partner of Saveri & Saveri, Inc., Lead Counsel for Direct
Purchaser Plaintiffs (“Plaintiffs”) in this action. 1 am a member of the Bar of the State of California
and admitted to practice in the Northern District of California. I make this Declaration in Support
of Plaintiffs’ Application for Default Judgment by the Court Against the Irico Defendants. Except
as otherwise stated, I have personal knowledge of the facts stated below.

2. On September 1, 2016, Leslie M. Marx, Ph.D., completed her expert report on
behalf of Plaintiffs in anticipation of trial against the Mitsubishi Electric Defendants. Attached
hereto as Exhibit A is a true and correct copy of Dr. Marx’s report.

3. This multidistrict litigation arises from an alleged worldwide conspiracy to fix
prices of Cathode Ray Tubes (“CRTs”). CRTs are the primary components of CRT televisions and
computer monitors. The complaint alleged a conspiracy involving some of the largest companies in
the world, including Chunghwa, Hitachi, LG Electronics, Mitsubishi Electric, Panasonic, Philips,
Samsung SDI, Thomson, Toshiba and the Irico Defendants.

4, After the United States Department of Justice (“DOJ”) announced its investigation
into the conspiracy in November 2007, twenty direct purchaser plaintiff class action complaints
were filed alleging a violation of Section | of the Sherman Act, 15 U.S.C. § 1, and Section 4 of the
Clayton Act, 15 U.S.C. § 15.

5. In the Jn re Monosodium Glutamate Antitrust Litigation (D. Minn.), the Court
entered default judgment against Defendant Tung Hai Fermentation Industrial Corporation n/k/a
Vedan Enterprises Group in the amount of $184,700,000 on motion of direct purchaser plaintiffs
for whom I served as counsel. Attached hereto as Exhibit B is a true and correct copy of the court’s
order entering default judgment, ECF No. 486, dated September 10, 2004. Attached hereto as
Exhibit C is a true and correct copy of the court’s order entering default judgment and awarding
post-judgment interest on the 2004 judgment, ECF No. 613, dated August 4, 2016.

6, On November 6, 2014, Jeffrey J. Leitzinger, Ph.D., completed his expert report on
behalf of Plaintiffs, which was used in support of Plaintiffs’ motion for class certification. Attached

hereto as Exhibit D is a true and correct copy of Dr. Leitzinger’s class certification report.
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DECLARATION OF R. ALEXANDER SAVER] IN SUPPORT OF DPPS’APPLICATION FOR DEFAULT
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7. On September 1, 2016, Jeffrey J. Leitzinger, Ph.D., completed his expert report on
behalf of Plaintiffs in anticipation of trial against the Mitsubishi Electric Defendants. Attached
hereto as Exhibit E is a true and correct copy of Dr. Leitzinger’s report.

8. On September 1, 2016, Dr. Leitzinger’s final study was transmitted to the
Mitsubishi Electric Defendants.

9. T understand from attorneys working under my direction that the documentary

evidence shows that representatives of the Irico Defendants attended at least a
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10. Attached hereto as Exhibit F is a true and correct copy of a document produced in
this litigation bearing the Bates stamp CHU00030679-83. It was marked as Deposition Exhibit No.
1312.

11. Attached hereto as Exhibit G is a true and correct copy of a document produced in
this litigation bearing the Bates stamp CHU000030688-91. It was marked as Deposition Exhibit
No. 1303.

12, Attached hereto as Exhibit H is a true and correct copy of a document produced in
this litigation bearing the Bates stamp CHU00030695-97. It was marked as Deposition Exhibit No.
1301.

13. Attached hereto as Exhibit I is a true and correct copy of a document produced in
this litigation bearing the Bates stamp CHU00030819-33. It was marked as Deposition Exhibit No.
1305.

14, Attached hereto as Exhibit J is a true and correct copy of a document produced in
this litigation bearing the Bates stamp CHU0029110-15. It was marked as Deposition Exhibit No.
2260.

15. Attached hereto as Exhibit K is a true and correct copy of a document produced in
this litigation bearing the Bates stamp SDCRT-0087694.

16. Attached hereto as Exhibit L 1s a true and correct copy of a document produced in
this litigation bearing the Bates stamp SDCRT-0087700-02.

17. Attached hereto as Exhibit M is a true and correct copy of a document produced in
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this litigation bearing the Bates stamp CHU00030067.

18. Attached hereto as Exhibit N is a true and correct copy of a document produced in
this litigation bearing the Bates stamp CHU00123358-61. It was marked as Deposition Exhibit No.
1267.

19. — Attached hereto as Exhibit O is a true and correct copy of a document produced in
this litigation bearing the Bates stamp SDCRT-0091524-30.

20. Attached hereto as Exhibit P is a true and correct copy of a document produced in
this litigation bearing the Bates stamp CHU00102752-54,

I declare under the penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.

Executed this 3rd day of August, 2017 in San Francisco, California.

/s/ R. Alexander Saveri
R. Alexander Saveri

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